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 7

 8                              UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA-FRESNO
10
     UNITED STATES OF AMERICA,                     )    Case Number 1:07 CR 00156 LJO
11                                                 )
                           Plaintiff,              )    ORDER TO EXONERATE PROPERTY
12                                                 )    BOND
     v.                                            )
13                                                 )
     MARCUS MAJOR, JORDAN HUFF,                    )
14   VICTOR MURRAY, KEITH ROSE,                    )
     PORCHA NEAL, DAMIEN RIDEAUS,                  )
15   AND DWAYNE PERRY, and Does 1                  )
     through , inclusive,                          )
16                                                 )
                           Defendants.             )
17                                                 )
18                  IT IS HEREBY ORDERED that the property bond posted in the above-referenced
19   matter on behalf of Defendant, Porcha Neal, be exonerated, and returned to the owner thereof.
20   Deed of Trust from George and Zadie Neal, 2008-0148659.
21

22   Dated: January 21, 2010                           /s/ Lawrence J. O’Neill
                                                       HONORABLE LAWRENCE J. O’NEILL
23                                                     UNITED STATES DISTRICT JUDGE
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     ORDER TO EXONERATE PROPERTY BOND
